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                                                                             FILED: August 12, 2020

                                 UNITED STATES COURT OF APPEALS
                                     FOR THE FOURTH CIRCUIT


                                                 No. 20-6776
                                             (8:20-cv-01028-PX)


        KEITH SETH; DAVID SMITH; MARIO BURCH; JOHN DOES 1-5,

                              Plaintiffs - Appellees,


                      v.

        MARY LOU MCDONOUGH,

                              Defendant - Appellant.


                                                  ORDER


               Mary Lou McDonough appeals the district court’s order granting, in part, Plaintiffs’

        motion for injunctive relief in the underlying district court action (“injunctive relief order”).

        Plaintiffs correctly assert that the district court recently extinguished the injunctive relief

        order and denied Plaintiffs’ motion for a preliminary injunction. Accordingly, we dismiss

        McDonough’s appeal as moot.

               Entered at the direction of the panel: Judge Niemeyer, Judge Wynn, and Judge Diaz.



                                                            For the Court

                                                            /s/ Patricia S. Connor, Clerk
